Case 5:09-cr-00015-BJB Document 1144 Filed 06/20/13 Page 1 of 2 PageID #: 6166




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION


UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                                  CRIMINAL ACTION NO. 5:09CR-15-R-16

CAMEYON DARON ROBERTS                                                               DEFENDANT


                               MEMORANDUM AND ORDER

       Defendant Cameyon Daron Roberts filed a pro se motion for appointment of counsel, for

evidentiary hearing, and for sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(B) and 18

U.S.C. § 3553 (DNs 1024, 1025, & 1028). His motion to reduce his sentence was based on the

Supreme Court’s recent decision in Dorsey v. United States, ___ U.S. ___, 132 S. Ct. 2321

(2012). The United States’s response was primarily focused on this Court’s lack of jurisdiction

to modify a term of imprisonment except in certain situations as set forth in 18 U.S.C. § 3582(c),

none of which apply here. The Court agreed that § 3582(c) does not apply here and found that

Defendant’s pro se motion to reduce falls within the parameters of 28 U.S.C. § 2255. However,

the Court explained that before it would construe the document filed by Defendant as one

seeking relief under § 2255, it is required to provide him with an opportunity to withdraw or

amend it. In re Shelton, 295 F.3d 620 (6th Cir. 2002) (holding that district court must first give

pro se prisoner notice that a motion may be recharacterized as a § 2255 motion). Defendant was

given 30 days to notify the Court whether he wants to withdraw his motion or amend it.

       Defendant has now notified the Court that he does not oppose the recharacterization of

his motion to reduce his sentence as a § 2255 motion (DN 1137). Defendant states that he “will

title/characterize his pleading as what-ever the government and especially this Court, deems
Case 5:09-cr-00015-BJB Document 1144 Filed 06/20/13 Page 2 of 2 PageID #: 6167




proper, to receive the requested relief. A liberally construed pleading is what the Petitioner

desires, and what is fair and just.”

        Consequently, Defendant’s motion (DN 1028) is recharacterized as a § 2255 motion.

Additionally, the Court GRANTS Defendant’s motion to appoint counsel (DN 1024) and hereby

APPOINTS attorney Edward Box pursuant to 18 U.S.C. § 3006A(b) as counsel for Defendant

effective June 5, 2013.

        Defendant’s motion for an evidentiary hearing (DN 1025) is DENIED as premature at

this time.

Date:    June 14, 2013




cc:     Defendant, pro se
        Edward Box, Esq.
        Counsel of record
4413.009




                                                 2
